                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               CASE NO. 5:23-cv-00003


 ERIC KARCHMER,

                         Plaintiff,

      v.
                                                                  CONSENT BY
 APPALACHIAN STATE UNIVERSITY and                               ERIC KARCHMER
 SHERI EVERTS Chancellor of Appalachian
 State University, in her official capacity,

                         Defendants.



        I, Eric Karchmer,state and say:

        1.      I am the Plaintiff in this case.

        2.      My counsel, Bruce L. Kaplan, has informed me that he believes a conflict has

developed between us such that he can no longer continue to represent me.

        3.      I agree that Bruce L. Kaplan’s representation of me can no longer continue in

light of the conflict.

        4.      Bruce L. Kaplan has informed me that he intends to file a motion to withdraw

as counsel.

        5.      I consent to Bruce L. Kaplan’s withdrawal as counsel.

        6.      I understand that Bruce L. Kaplan’s motion to withdraw as counsel will include

a request that this case be stayed for fourteen days in order to allow me time to find new

counsel, if I so choose.

        7.      I understand that Bruce L. Kaplan’s motion to withdraw as counsel will include

a request that the Court extend the deadline for me, either personally or through new counsel,

to respond to the Defendants’ Motion to Dismiss and to submit a supporting memorandum of

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law for an additional thirty days, through and including May 2, 2023.

       8.      I understand that if I do not timely respond to the Defendants’ Motion to

Dismiss and submit a supporting memorandum of law, the Court may take adverse action

against my claims in this case.

This the 31st day of March, 2023



                                                  _____________________________
                                                  ERIC KARCHMER



                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 31st day of March, 2023, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send notice of such
filing to the following:

                              Anne Phillips Martin
                              Assistant Attorney General
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                              North Carolina Department of Justice
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                              Counsel for Defendants


                                            BRUCE KAPLAN, ATTORNEY AT LAW

                                            BY: /s/ Bruce L. Kaplan
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